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  8                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF CALIFORNIA
  9
                                      SANTA ROSA DIVISION
 10

 11
      In re                                         Case No. 17-10065-RLE
 12
                 SVC,
                                                    CHAPTER 11
 13
                              Debtor.
                                                    STEPHEN A. FINN’S RESPONSE TO
 14                                                 SULLIVANS’ OBJECTION TO
                                                    SCHEDULED CLAIM OF TROVE
 15                                                 PROFESSIONAL SERVICES LLC
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      TO THE HONORABLE ROGER L. EFREMSKY, UNITED STATES CHIEF
 18   BANKRUPTCY JUDGE, TRUSTEE, DEBTORS, AND ALL INTERESTED PARTIES:
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              Stephen A. Finn (“Finn”), through his undersigned counsel, submits this response to the
 20
      Objection to Scheduled Claim of Trove Professional Services LLC (the “Claim Objection”) filed
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      by Ross and Kelleen Sullivan (the “Sullivans”) [Dkt. No. 510], and respectfully represents as
 22
      follows:
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                                             BACKGROUND
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              1.        SVC and Trove Professional Services LLC (“Trove”) entered into a Services
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      Agreement, effective September 8, 2014 (the “Trove Agreement”). A copy of the Trove
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      Agreement is attached as Exhibit A. Under the terms of the Trove Agreement, Trove would review
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      SVC’s utilities and vendors for prior billing errors, improvements, and/or cost savings. Trove
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  1   Agreement, ¶ 1. In exchange for providing these services, SVC agreed to pay Trove 50% of the
  2   savings Trove achieved from Trove’s review upon realization of the savings. Trove Agreement, ¶
  3   7. The Trove Agreement does not provide for any other compensation than that derived from
  4   savings provided to SVC.
  5          2.      On February 1, 2017 (the “Petition Date”) SVC filed a voluntary petition for relief
  6   under chapter 11 of Bankruptcy Code (the “SVC Case”). On August 24, 2017, the Sullivans were
  7   removed as debtors-in-possession in the SVC Case by the Court in favor of a chapter 11 trustee
  8 (the “Trustee”). See Dkt. Nos. 196 and 199.

  9          3.      On February 15, 2017, SVC filed its Schedules of Assets and Liabilities (the “SVC
 10   Schedules”) [Docket No. 25]. Ross Sullivan signed the SVC Schedules under penalty of perjury
 11   attesting that Trove held a non-contingent, liquidated, and undisputed general unsecured claim in
 12   the amount of $9,000. See SVC Schedules at Schedule E/F, 3.47.
 13          4.      In January 2020, Finn began discussions with Trove to purchase the Trove Claim.
 14   Finn and Trove ultimately entered into an agreement for Finn to purchase the claim during the last
 15   week of January. Then, on January 28, 2020, the Sullivans filed their Claim Objection.
 16                                                ARGUMENT
 17          5.      Rule 3003(b)(1) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy
 18   Rules”) provides that a scheduled claim shall constitute prima facie evidence of the validity and
 19   amount of the claim, unless it is scheduled as disputed, contingent, or unliquidated. To overcome
 20   this presumption of validity, the objecting party must present evidence with probative force equal
 21   to that of the claim. Lundell v. Anchor Constr. Specialists, Inc., 223 F.3d 1035, 1039 (9th Cir.
 22   2000). In short, the objecting party's task is to produce credible evidence to refute at least one of
 23   the allegations essential to the claim's legal sufficiency. Id. at 1040. The Sullivans have not only
 24 not produced credible evidence to refute the Trove Claim, the Sullivans have not produced any

 25   evidence at all to refute the Trove Claim.
 26          6.      Trove entered into an agreement with SVC to analyze its utilities and vendor costs
 27   and implement savings where it found billing errors, improvements, and/or cost savings. Trove’s
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  1   compensation under the terms of the Trove Agreement was based exclusively on the amount of
  2   savings it provided to SVC and Trove was not paid a monthly fee. The Sullivans provide no basis
  3   for their claim that “[u]nder this arrangement, each month, the Debtor paid Claimant $537.94.”
  4   Claim Objection, Page 1, Line 27. In fact, this statement is directly contradicted by the terms of
  5   the Trove Agreement which provides for SVC to pay Trove 50% of the savings that Trove provided
  6   to SVC. Trove Agreement, ¶ 7. The Sullivans provide no support for their bald assertion that there
  7   was a monthly fee.
  8          7.      The Sullivans were the debtors-in-possession for SVC for six months from the
  9   Petition Date until they were replaced by the Trustee. While debtors-in-possession, they filed the
 10   SVC Schedules under penalty of perjury identifying the Trove Claim as a non-contingent,
 11 liquidated, and undisputed general unsecured claim in the amount of $9,000. During their six

 12 months as debtors-in-possession, they did not amend the SVC Schedules to reflect that they

 13 thought there was a problem with the Trove Claim. After being replaced by the Trustee, they were

 14 very active participants in the SVC Case for over two years. This includes filing several plans of

 15 reorganization. The Sullivans did not file any objection to the Trove Claim during this period

 16 either. Now, almost three years into the SVC Case and after finding out that Finn was purchasing

 17 the Trove Claim, the Sullivans have determined that they listed an incorrect amount for the Trove

 18 Claim on the SVC Schedules.

 19          8.      The Claim Objection relies on the Sullivans’ assertion that the Trove was paid a
 20 monthly fee of $537.94 but provides no evidence to support the assertion. The Trove Agreement

 21 by its own terms states that Trove was to be paid as a percentage of savings provided to SVC. The

 22 Sullivans have failed to meet their burden. Accordingly, the Claim Objection should be overruled.

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                                             7                                              4822-5422-5332
  1                                          CONCLUSION
  2          WHEREFORE, Stephen A. Finn respectfully requests that the Court overrule the Claim
  3   Objection, and grant such other relief as the Court deems appropriate.
  4   Dated: February 27, 2020
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                                               By     /s/ Philip S. Warden
  6                                                 Philip S. Warden

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                                              7                                         4822-5422-5332
  1                                           Exhibit A
  2                                    Trove Agreement
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